      Case 1:18-cv-04476-LJL-SLC Document 209 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
LOCAL 3621, EMS OFFICERS UNION, DC-37, AFSCME,
AFL-CIO, et al.,

                                Plaintiffs,
                                                            CIVIL ACTION NO.: 18 Civ. 4476 (LJL) (SLC)
         against
                                                                               ORDER
THE CITY OF NEW YORK, et al.,

                                Defendants.


SARAH L. CAVE, United States Magistrate Judge.

         The Court resolved telephonically a discovery dispute that arose during a deposition

relating to questions Plaintiffs’ counsel posed to the deponent regarding her designation as a

Rule 30(b)(6) witness as opposed to a Rule 26 witness. Defendants’ counsel objected on grounds

that the question called for privileged attorney-client communication.

         The Court ordered that Plaintiffs’ counsel could revise the question to ask whether any

non-attorney asked the deponent to give testimony on behalf of Defendant City of New York, as

opposed to testimony in her personal capacity.

         The Court’s full ruling is reflected in the Court’s recording of the call, which can be made

available for transcription at the request of the parties


Dated:             New York, New York
                   November 6, 2020

                                                      SO ORDERED



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judg
